      Case: 4:16-cv-00093-GHD-JMV Doc #: 9 Filed: 06/17/16 1 of 2 PageID #: 78



          IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF MISSISSIPPI
                      GREENVILLE DIVISION


MONTRELL GREENE                                                   PLAINTIFF


VS.                              CIVIL ACTION NO.: 4:16-cv-93-GHD-JMV


GREENWOOD PUBLIC SCHOOL DISTRICT,
AND DEIRDRE MAYES, RANDY CLARK, AND
SAMANTHA MILTON, IN THEIR OFFICIAL
OFFICIAL AND INDIVIDUAL CAPACITIES                                DEFENDANTS



                               MOTION TO STAY

      COMES NOW, Plaintiff, Montrell Greene, by and through counsel, and

moves the Court to stay the time for Plaintiff to file a response to Defendants’

motion to dismiss pending a ruling on Plaintiff’s Motion for Immunity Related

Discovery, (Doc. #7).

      RESPECTFULLY SUBMITTED, this the 17th day of June, 2016.

                                                    /s/ WILLIE GRIFFIN
                                                    WILLIE GRIFFIN, MSB 5022
                                                    BAILEY & GRIFFIN, P.A.
                                                    POST OFFICE BOX 189
                                                    1001 MAIN STREET
                                                    GREENVILLE, MS 38702
                                                    TELEPHONE (662) 335-1966

                                                    ATTORNEY FOR PLAINTIFF
     Case: 4:16-cv-00093-GHD-JMV Doc #: 9 Filed: 06/17/16 2 of 2 PageID #: 79




                            CERTIFICATE OF SERVICE

      I, Willie Griffin, attorney for Respondent, do hereby certify that I have this day,

filed electronic the foregoing with the Clerk of Court by using the EFC system, which

sent notification of such filing to the following:

             Robert F. Stacy, Jr., Esq.
             Daniel Coker Horton & Bell, P.A.
             P. O. Box 1396
             Oxford, MS 38655-1396

      CERTIFIED, this 17TH           day of June, 2016.


                                                     _/s WILLIE GRIFFIN
                                                     WILLIE GRIFFIN
